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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
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     Assistant Federal Defender
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     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorney for Defendant
     THERESA ANN CARR
7
8                           IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )           No. CR-S-09-00170-GEB
                                     )
12                  Plaintiff,       )
                                     )           STIPULATION AND [PROPOSED] ORDER
13        v.                         )           TO CONTINUE TRIAL AND TRIAL
                                     )           CONFIRMATION HEARING
14   ROBERT L. CARR, and THERESA ANN )
     CARR,                           )
15                                   )           Date: January 13, 2012
                    Defendant.       )           Time: 9:00 a.m.
16                                   )           Judge: Hon. Garland E. Burrell
     _______________________________
17
          IT IS HEREBY STIPULATED between the parties, Samuel Wong, Assistant
18
     United States Attorney, for plaintiff United States of America, on the
19
     one hand, and Douglas Beevers, Assistant Federal Defender, attorney for
20
     defendant    Theresa    Ann   Carr,   and    Michael   Long,   Esq.,   attorney   for
21
     defendant Robert Carr, on the other hand, that the trial confirmation
22
     hearing of January 13, 2012 at 9:00 a.m., be vacated, and the matter be
23
     set for status conference on January 27. 2012 at 9:00 a.m.
24
          The reason for the continuance is defense counsel Michael Long is
25
     scheduled to be in trial in another case during the week of January 9,
26
     2012, and is unavailable to attend a status conference on January 13,
27
     2012.   In addition, defense counsel desires additional time to consider,
28
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1    research, and investigate the facts of the case.         The parties stipulate
2    and agree that the   Court should find the continuance requested herein is
3    necessary to provide the undersigned defense counsel reasonable time to
4    prepare their respective clients' defenses, taking into account due
5    diligence, and ensure continuity of defense counsel for Robert Carr.
6    Further , the parties stipulate that the Court should continue to find as
7    it has previously that this case is unusual and complex within the
8    meaning of the Speedy Trial Act due to the large number of charged
9    offenses (69 counts) over multiple years and over thirty boxes of
10   documents in discovery.    The parties stipulate and agree that the Court
11   should continue to find the ends of justice in granting this reasonable
12   request for a continuance outweigh the best interests of the public and
13   defendants for a speedy trial in this case.
14        Accordingly, it is stipulated that the Court should find the period
15   from the date of the parties’ stipulation, January 11, 2012, and up to
16   and including the March 13, 2012 trial date, shall be excluded from
17   computation of time within which the trial of this matter must be
18   commenced   under    the   Speedy   Trial    Act,   pursuant    to    18   U.S.C.
19   §3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (unusual and
20   complex case) T4 (ongoing preparation of defense counsel and continuity
21   of counsel).
22   Dated: January 11, 2012                Respectfully submitted,
23                                          DANIEL BRODERICK
                                            Federal Defender
24
                                            /s/ Douglas Beevers
25                                          ________________________
                                            DOUGLAS BEEVERS
26                                          Assistant Federal Defender
                                            Attorney for Defendant
27                                          THERESA ANN CARR
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     Stip and Order                        -2-
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1    Dated: January 11, 2012                    /s/ C. Michael Long
                                                ___________________________
2                                         By:   Michael Long
                                                Attorney for defendant
3                                               Robert Carr
     Dated: January 11, 2012
4                                               BENJAMIN B. WAGNER
                                                United States Attorney
5
                                               /s/ Samuel Wong
6                                              ___________________________
                                          By: SAMUEL WONG
7                                              Assistant U.S. Attorney
                                             ORDER
8
           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
9
     ordered that the trial confirmation hearing presently set for January 13,
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     2012, be continued to January 27. 2012, at 9:00 a.m. Based on the
11
     representation of defense counsel and good cause appearing therefrom, the
12
     Court hereby finds that it is unreasonable to expect adequate preparation
13
     for   pretrial    proceedings      and   trial   itself   within   the   time   limits
14
     established in 18 U.S.C. § 3161. The Court finds the ends of justice to
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     be served by granting such a continuance outweigh the best interests of
16
     the public and the defendants in a speedy trial. It is ordered that time
17
     from the date of the parties’ stipulation, January 11, 2012, up to and
18
     including,     the   March   13,   2012,   trial   date   shall    be   excluded   from
19
     computation of time within which the trial of this matter must be
20
     commenced under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7)(A)
21
     (B)(ii) and (iv) and Local Codes T2 (unusual and complex case) and T4
22
     (allow defense counsel reasonable time to prepare and continuity of
23
     counsel).
24
25   Dated:    January 11, 2012

26
27                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
28


     Stip and Order                             -3-
